  Case 18-80558-JJG-7A            Doc 111-1       Filed 02/16/22       EOD 02/16/22 10:17:01              Pg 1 of 2


Marietta CPAs
4622 West 72nd Street, Suite C                                            INVOICE
Indianapolis, IN 46268
Phone 317.216.1040 Fax 317.216.7461                                       DATE:         December 7, 2021
                                                                       INVOICE #                  77213




Bill To:
Nancy Ann Whitaker Bankruptcy Estate
Care of: Lou Ann Marocco, Trustee
P O Box 1206
Greenwood, IN 46142



                                DESCRIPTION                                               AMOUNT
Prepare 2021 First and Final Form 1041, IT-41, 1040, IT-40
                                                                                    $               -
Principal 0.96 Hours                                                                             264.00
Tax Manager 4.85 Hours                                                                           970.00
Staff Accountant 0.00 Hours
Administrator 0.94 Hours                                                                          89.30
                                                 TOTAL PROFESSIONAL FEES: $                    1,323.30
Expenses
Software Fees                                                                       $             58.85
Assembly Materials                                                                                 3.65
Postage                                                                                            8.80
Copies                                                                                             6.80
                                                             TOTAL EXPENSES: $                    78.10

(Copy of detail attached)




                                                                 GRAND TOTAL: $                1,401.40




Make all checks payable to Marietta Financial
                                THANK     YOUServices,
                                                FOR YOURInc. BUSINESS!
If you have any questions concerning this invoice, contact Larry Marietta, CPA, 317.216.1040
         Case 18-80558-JJG-7A                Doc 111-1 Filed 02/16/22 EOD 02/16/22 10:17:01   Pg 2 of 2
MARIETTA CPAs                                        Billing Worksheet                 Monday, February 28, 2022
                                                                                                          January 1, 1900 - February 28, 2022
                                                                                                         September 1, 2021 - February 28, 202
616659658             NANCY ANN WHITAKER BANKRUPTCY ESTATE                                                      Phone (Business): 317-313-0700
LOU ANN MAROCCO       P O BOX 1206,GREENWOOD, IN 46142                                              Email: TRUSTEE@MAROCCOLAWINDY.COM

616659658            NANCY ANN WHITAKER BANKRUPTCY ESTATE
Engagement         Project    Staff  Activity Date  Rate                  Hrs/Units    Amount    Bill Amount                        Biller Note (B)

FIRM

BANKRUPTCY         BKTAX      FIRM    9502    11/30/21 Exp: 58.85/unit        1.00       58.85                 B: Software Fees
BANKRUPTCY         BKTAX      FIRM    9503    11/30/21 Exp: 3.65/unit         1.00        3.65                 B: Assembly Material
BANKRUPTCY         BKTAX      FIRM    9504    11/30/21 Exp: 8.80/unit         1.00        8.80                 B: Postage
BANKRUPTCY         BKTAX      FIRM    9501    11/30/21 Exp: 6.80/unit         1.00        6.80                 B: Copies

FIRM Totals                                                                  4.00       78.10          0.00


Kimberly Connell

BANKRUPTCY         BKTAX      KCONNE 6090     11/30/21 Time: 95.00/hr         0.94       89.30                 B: Assembly
                              LL
Kimberly Connell Totals                                                      0.94       89.30          0.00


Larry Marietta, CPA

BANKRUPTCY         BKTAX      LMARIE 6020     11/30/21 Time: 275.00/hr        0.96      264.00                 B: Sign and review
                              TTA
Larry Marietta, CPA Totals                                                   0.96      264.00          0.00


Teresa Choate, CPA

BANKRUPTCY         BKTAX      TCHOAT 6010     09/16/21 Time: 200.00/hr        0.45       90.00                 B: save affidavit from Lou Ann,
                              E                                                                                saved signed Affidavit, email to Lou
                                                                                                               Ann to request EIN#, SSN#, trustee
                                                                                                               fees, Form 1 & 2, search PACER for
                                                                                                               case summary and add to tracking
BANKRUPTCY         BKTAX      TCHOAT 6000     11/30/21 Time: 200.00/hr        2.01      402.00                 B: prepare intake sheet, review
                              E                                                                                Form 1 & 2 and add up expenses,
                                                                                                               search for General Footnote
                                                                                                               wording, read order to compromise
                                                                                                               and settle
BANKRUPTCY         BKTAX      TCHOAT 6000     11/30/21 Time: 200.00/hr        2.39      478.00                 B: Draft Federal and State 60 Day
                              E                                                                                Prompt Liability Determination
                                                                                                               Letters, Draft General Footnote
                                                                                                               related to fraudulent conveyance
                                                                                                               and gift to sons, set up Form 1041 -
                                                                                                               add headers and short year - pint
                                                                                                               returns, set up Form 1040 - add
                                                                                                               headers and short year, add
                                                                                                               expenses, add general footnote,
                                                                                                               clear diagnostics
Teresa Choate, CPA Totals                                                    4.85      970.00          0.00


                                                                         Total WIP    1,401.40
                                                                  Progress Billed         0.00
Client NANCY ANN WHITAKER BANKRUPTCY                                        10.75     1,401.40         0.00
ESTATE Totals




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